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                                             IN THE UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                              )         COURT MINUTES - CRIMINAL
                                                       )               BEFORE: Tony N. Leung
                                    Plaintiff,         )                 U.S. Magistrate Judge
                                                       )
   v.                                                  )   Case No:           22-mj-730 TNL
                                                       )   Date:              September 9, 2022
Aaron Malik Cato,                                      )   Courthouse:        Minneapolis
                                                       )   Courtroom:         9W
                                    Defendant.         )   Time Commenced:    11:30 a.m.
                                                           Time Concluded:    12:42 p.m.
                                                           Time in Court:    1 hour, 12 minutes




                 X PRELIMINARY/DETENTION HRG
                    Time in Court Prelim/Det: 55 minutes/17 minutes

APPEARANCES:
   Plaintiff: Allison Ethen, Assistant U.S. Attorney
   Defendant: Bruce Rivers
                   X Retained


On X Complaint

X Deft Ordered Detained - Govt to submit proposed order

X Probable cause found. Deft bound over to District Court of Minnesota

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Additional Information:
Government’s exhibits 2 – 8 admitted.
John Bianchi testified
Andrew Lund testified

X Oral Rule5(f) Brady notice read on the record.


                                                                                                         s/JAM
                                                                                  Signature of Courtroom Deputy




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